                    Case 16-32021            Doc 1       Filed 10/06/16 Entered 10/06/16 17:01:23                              Desc Main         10/06/16 5:00PM
                                                           Document     Page 1 of 11
Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ILLINOIS

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                P3 FOODS, L.L.C.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Burger King
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  15715 S. Route 59
                                  Plainfield, IL 60544
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Will                                                            Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  9 stores located in or around Minneapolis MN
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 1
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Debtor
                                                               Document     Page 2 of Case
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          P3 FOODS, L.L.C.
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:

                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                          Case number
                                                  District                                When                          Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                               Relationship
                                                  District                                When                         Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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Debtor
                                                            Document     Page 3 of Case
                                                                                    11 number (if known)
         P3 FOODS, L.L.C.
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                       page 3
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Debtor
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                                                                                   11 number (if known)
          P3 FOODS, L.L.C.
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 6, 2016
                                                  MM / DD / YYYY


                             X   /s/ Anthony Pendolino                                                   Anthony Pendolino
                                 Signature of authorized representative of debtor                        Printed name

                                 Title   General Manager




18. Signature of attorney    X   /s/ Richard L. Hirsh                                                     Date October 6, 2016
                                 Signature of attorney for debtor                                              MM / DD / YYYY

                                 Richard L. Hirsh
                                 Printed name

                                 Richard L. Hirsh, P.C.
                                 Firm name

                                 1500 Eisenhower Lane
                                 Suite 800
                                 Lisle, IL 60532-2135
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     630 434-2600                  Email address      richala@sbcglobal.net

                                 1225936
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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 Fill in this information to identify the case:
 Debtor name P3 FOODS, L.L.C.
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF ILLINOIS                                                                                Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 20 20 Franchise                                                 remodeling                                                                                                 $4,910.79
 National Franchise                                              charges
 Associates LLC
 400 E 22nd St Suite
 A
 Lombard, IL 60148
 Advocate Financial                                              consulting fees                                                                                          $12,500.00
 Group
 940 E Diehl Rd
 Naperville, IL 60563
 Alpine Diversified                                              repair services                                                                                            $8,459.93
 Services
 Abby Corr
 4857 University Ave
 NE
 Minneapolis, MN
 55421
 American Express                                                working capital                                     $35,497.28                        $0.00              $35,497.28
 Fin Mem Mail Hub
 ATN Mercht
 Fnancng MailCode
 2402-18
 2401 W Behrend Dr
 Suite 55
 Phoenix, AZ 85027
 Brainerd                                                        rent and property                                                                                        $10,833.00
 Enterprises                                                     taxes
 Dave Jenkins
 2820 15th Ave SW
 Rochester, MN
 55902
 Burger King Corp                                                royalties, rent,                                                                                       $771,452.94
 5505 Blue Lagoon                                                advertising,
 Drive                                                           property taxes
 Miami, FL
 33126-2029




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    P3 FOODS, L.L.C.                                                                                   Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Haas Landscaping                                                landscaping                                                                                                $4,870.10
 LLC
 656 36th Ave NE
 Minneapolis, MN
 55401
 Hartford Insurance                                              insurance                                                                                                  $8,000.00
 Property                                                        premiums
 PO BOX 660916
 Dallas, TX
 75266-0916
 J&K Restaurant                                                  repair services                                                                                            $3,681.75
 Services
 11950 185th Street
 West
 Lakeville, MN 55044
 Minnesota Dept of                                               unpaid sales tax                                                                                       $458,082.61
 Revenue
 PO BOX 64622
 Saint Paul, MN
 55164-0622
 NUCO2 INC                                                       repair services                                                                                            $2,646.28
 PO BOX 417902
 Boston, MA
 02241-7902
 On Deck                                                         Corporate Debt                                                                                           $21,860.00
 1400 Broadway 25th
 Floor
 New York, NY 10018
 PABS                                                            garbage pick up                                                                                            $4,213.72
 5000 Legacy Dr
 Suite 410
 Plano, TX 75024
 Pan-O-Gold Baking                                               food                                                                                                     $70,260.80
 Co
 444 E Germain St
 PO BOX 848
 Saint Cloud, MN
 56302-0848
 RF Technologies                                                 repair and parts                                                                                           $5,450.22
 542 S Prairie
 Bethalto, IL 62010
 Service Master                                                  repair services                                                                                            $2,732.69
 PO BOX 2805
 Baxter, MN 56425
 Sicom Systems Inc                                               point of sale                                                                                              $6,650.15
 4434 Progress                                                   equipment
 Meadow Dr
 Doylestown, PA
 18902
 Swami Consulting                                                accounting                                                                                               $14,400.00
 1509 Lakeland Blvd                                              services
 Mattoon, IL 61938


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    P3 FOODS, L.L.C.                                                                                   Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 TSBL Distributing                                               repairs                                                                                                    $5,963.13
 Chad Hadn
 1475 Commerce Dr
 Suite 100
 Saint Paul, MN
 55120
 Xcel Energy                                                     electric bill                                                                                            $24,846.82
 PO BOX 9477
 Minneapolis, MN
 55484-9477




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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             Case 16-32021 Doc
20 20 Franchise                     1   Filed 10/06/16
                                        Brainerd          Entered 10/06/16 17:01:23
                                                 Public Utilities                     DescStMain
                                                                              City of West   Paul
National Franchise Associates LLC         Document
                                        8027             Page
                                              Highland Senic   Rd 8 of 11     1616 Humboldt Ave
400 E 22nd St Suite A                   PO BOX 373                            Saint Paul, MN 55118
Lombard, IL 60148                       Brainerd, MN 56401
      }
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AA Equipment                            Burger King Corp                      Comcast
Nick Larsen                             5505 Blue Lagoon Drive                PO BOX 34227
2212 Minnehaha Ave                      Miami, FL 33126-2029                  Seattle, WA 98124-1227
Minneapolis, MN 55404


Advocate Financial Group                CenterPoint Energy                    Connover Packaging Inc
940 E Diehl Rd                          505 Nicollet Mall                     119 Despatch Dr
Naperville, IL 60563                    PO BOX 59038                          East Rochester, NY 14445
                                        Minneapolis, MN 55459-0038


Alpine Diversified Services             Century Link                          Corporate Mechanical
Abby Corr                               PO BOX 91154                          5114 Hillsboro Ave
4857 University Ave NE                  Seattle, WA 98111-9254                Minneapolis, MN 55428
Minneapolis, MN 55421


American Express Fin Mem Mail Hub       City of Eden Prairie                  CPENERGY MNGCO
ATN Mercht Fnancng MailCode 2402-18     8080 Mitchell Rd                      Centerpoint Energy
2401 W Behrend Dr Suite 55              Eden Prairie, MN 55344                PO BOX 4671
Phoenix, AZ 85027                                                             Houston, TX 77210-4671


Arcade Electric Co                      City of Minneapolis                   CST Corporation
Karen McConnell                         Health Dept-Environmental Health Dv   Geri Brasfield
1550 91st Ave NE Suite 201              250 S Fourth St Room 414              1225 Carnegie Street Suite 106
Minneapolis, MN 55449                   Minneapolis, MN 55415                 Rolling Meadows, IL 60008


Archway                                 City of Minneapolis - Utilities       CTC
Kari Lenneman                           250 S 4th St Rm 200`                  PO BOX 767
26049 Network Place                     Minneapolis, MN 55415                 Brainerd, MN 56401
Chicago, IL 60673-1260


B&C Services LLC                        City of Minneapolis - Utilities       Direct TV
Carol Bennes                            c/o 350 S 5th St                      PO BOX 60036
10 17th Ave SE                          Minneapolis, MN 55415                 Los Angeles, CA 90060-0036
Saint Joseph, MN 56374


Bertram Electric                        City of Plymouth - Utilities          DMI Manufacturing Inc
22528 182nd Ave                         Finance Dept                          Rose Mary
Saint Cloud, MN 56302                   3400 Plymouth Blvd                    7177 Industrial Park Blvd
                                        Minneapolis, MN 55447                 Mentor, OH 44060


Brainerd Enterprises                    City of St Cloud - Utilities          East Side Glass
Dave Jenkins                            PO BOX 1501                           305 Franklin Ave NE
2820 15th Ave SW                        Saint Cloud, MN 56302-1501            Saint Cloud, MN 56304
Rochester, MN 55902
Ecolab       Case 16-32021       Doc 1   Filed
                                         McKee10/06/16    Entered 10/06/16 17:01:23
                                                Sign Service                  ParadigmDesc  Main
                                                                                       Tax Group
24673 Network Place                      PODocument
                                             BOX 9899    Page 9 of 11         3200 N Central Ave Suite 300
Chicago, IL 60673-1246                   Saint Paul, MN 55109                  Phoenix, AZ 85012




Element Financial Corp                   Mike Scholtes Refrigeration Inc       Plunkett's Pest Control Inc
PO BOX 71425                             4219 75th Ave SE                      40 NE 52nd Way
Chicago, IL 60694-1425                   Saint Cloud, MN 56304                 Minneapolis, MN 55421




Franke Resupply Systems Inc              Minnesota Dept of Revenue             Protection One
8007 Innovation Way                      PO BOX 64622                          PO BOX 219044
Chicago, IL 60682-0080                   Saint Paul, MN 55164-0622             Kansas City, MO 64121-9044




Global Graphics and Design Inc           Minnesota Dept of Revenue             Rathbun, Cservenyak & Kozol, LLC
1625 W Candletree Dr                     600 North Robert Street               3260 Executive Dr.
Peoria, IL 61614                         Saint Paul, MN 55146                  Joliet, IL 60431




Haas Landscaping LLC                     Moe's Lawn and Landscaping            Redking Foods LLC
656 36th Ave NE                          8650 Country Rd 107                   11775 Justen Circle Suite B
Minneapolis, MN 55401                    Nisswa, MN 56468                      Osseo, MN 55369




Hartford Insurance Property              NFA                                   RF Technologies
PO BOX 660916                            2 MidAmerica Plz Suite 120            542 S Prairie
Dallas, TX 75266-0916                    Villa Park, IL 60181                  Bethalto, IL 62010




ICEE                                     NUCO2 INC                             Roto-Rooter Services
1205 Dupont Ave                          PO BOX 417902                         Diane Drummer
Ontario, CA 91761                        Boston, MA 02241-7902                 5672 Collections Center Drive
                                                                               Chicago, IL 60693


J&K Restaurant Services                  On Deck                               See Clear Window Cleaning
11950 185th Street West                  1400 Broadway 25th Floor              13411 Memorywood Dr
Lakeville, MN 55044                      New York, NY 10018                    Baxter, MN 56425




Just Contracting                         PABS                                  Service Master
Carrie Bergstrom                         5000 Legacy Dr Suite 410              PO BOX 2805
24215 Idalia Ave                         Plano, TX 75024                       Baxter, MN 56425
Lakeville, MN 55044


LEAF                                     Pan-O-Gold Baking Co                  Shamrock Group
PO BOX 742647                            444 E Germain St                      2900 5th Avenue South
Cincinnati, OH 45274-2647                PO BOX 848                            Minneapolis, MN 55408-5408
                                         Saint Cloud, MN 56302-0848
              CaseInc
Shoes for Crews    16-32021    Doc 1   Filed 10/06/16 Entered 10/06/16 17:01:23   Desc Main
PO BOX 504634                           Document     Page 10 of 11
Saint Louis, MO 63150-4634




Sicom Systems Inc
4434 Progress Meadow Dr
Doylestown, PA 18902




St Paul Regional Water Services
Board of Water Commissioners
1900 Rice St
Saint Paul, MN 55113-6810


Supreme Lawn and Landscaping
PO BOX 7271
Saint Cloud, MN 56302




Swami Consulting
1509 Lakeland Blvd
Mattoon, IL 61938




TSBL Distributing
Chad Hadn
1475 Commerce Dr Suite 100
Saint Paul, MN 55120


Twin City Filter Service Inc
2529 25th Ave S
Minneapolis, MN 55406




Xcel Energy
PO BOX 9477
Minneapolis, MN 55484-9477
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                                                               United States Bankruptcy Court
                                                                     Northern District of Illinois
 In re      P3 FOODS, L.L.C.                                                                             Case No.
                                                                                 Debtor(s)               Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for P3 FOODS, L.L.C. in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 October 6, 2016                                                     /s/ Richard L. Hirsh
 Date                                                                Richard L. Hirsh 1225936
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for P3 FOODS, L.L.C.
                                                                     Richard L. Hirsh, P.C.
                                                                     1500 Eisenhower Lane
                                                                     Suite 800
                                                                     Lisle, IL 60532-2135
                                                                     630 434-2600 Fax:630 434-2626
                                                                     richala@sbcglobal.net




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